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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                         WEST PALM BEACH DIVISION


      UNITED STATES OF AMERICA,
                                                 Case No. 23-80101-CR
                                                 CANNON/REINHART
      vs.

      DONALD J. TRUMP,
      WALTINE NAUTA, and
      CARLOS DE OLIVERIA,

                       Defendants.



       BRIEF OF AMICUS CURIAE AMERICA FIRST LEGAL FOUNDATION
       IN SUPPORT OF PRESIDENT TRUMP’S MOTION TO DISMISS THE
         INDICTMENT BASED ON THE PRESIDENTIAL RECORDS ACT
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                                         ARGUMENT

          The Department of Justice (DOJ) indicted former President Trump based on a

    criminal referral from the National Archives and Records Administration (NARA).

    This referral violated Administrative Procedure Act (APA) sections 706 (2)(A)

    (prohibiting agency actions not in accordance with law)         and (2)(B) (prohibiting

    agency actions in excess of statutory jurisdiction or authority). Relevant precedent

    holds that an indictment based upon rules or adjudications in violation of the APA’s

    formal requirements should be dismissed. Accordingly, the Special Counsel’s

    indictment should be dismissed.

    I.    NARA’s criminal referral to the Department of Justice violated the
          Administrative Procedure Act

          A.     The Presidential Records Act requires DOJ to obtain documents
                 through 44 U.S.C. § 2205(2)(A).

          The Presidential Records Act (PRA) provides three “exceptions to restricted

    access” of Presidential records: (1) “pursuant to subpoena or other judicial process

    issued by a court of competent jurisdiction for the purposes of any civil or criminal

    investigation or proceeding;” (2) through the request of an incumbent President for

    information “that is needed for the conduct of current business of the incumbent

    President’s office,” or (3) “to either House of Congress.” 44 U.S.C. § 2205(2). Here, the

    documents were not requested by Congress, so the question is whether DOJ can rely

    on the remaining two exceptions to obtain these documents.

          Although publicly available documents suggest the White House initially

    requested these documents, they allegedly did so “on behalf of the Department of


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   Justice (DOJ) … so that the FBI and others in the Intelligence Community could

   examine them.”1 NARA reveals that the White House did not request the records for

   information “needed for the conduct of current business of the incumbent President’s

   office.” 44 U.S.C. § 2205(2)(B). Rather, agencies requested these documents—albeit

   through the White House—for agency use. Nothing in the record shows that these

   documents were “needed for the conduct of current business of the incumbent

   President’s office.” DOJ is not the President’s office, nor a part of it.

          To hold that the documents were “needed for the conduct of current business

   of the incumbent President’s office” simply because the request came from the White

   House would be to allow agencies to make an end run around the restrictions in

   section 2205(2) by routing requests through the White House Counsel’s Office. The

   plain meaning of the text precludes such an interpretation: it limits the need only for

   the “current business of the incumbent President’s office,” and an application of the

   expressio unius canon demonstrates that this precludes the “current business” of all

   other parts of the executive branch, including DOJ. Furthermore, the documents

   under this exception are made available to “an incumbent President” — not any




   1 E-mail from Debra Steidel Wall, Acting Archivist of the United States, to All
   Employees (Aug. 24, 2022, 3:34 PM) (Bates 15B001043–44), https://bit.ly/3mjVHDR;
   see also E-mail from Gary M. Stern, Gen. Counsel, NARA, to Debra Wall et al. (Aug.
   23, 2022, 9:53 PM) (Bates 15B001016), https://bit.ly/3mjVHDR (stating that “the
   Justice Department, via the Biden White House, had made the [special access]
   request.”); E-mail from Gary M. Stern, Gen. Counsel, NARA, to Debra Wall et al.
   (Aug. 23, 2022, 9:08 PM) (Bates 15B001012), https://bit.ly/3mjVHDR (referencing
   letter from NARA to President Trump’s attorney “concerning the DOJ special access
   request”).
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   agency head — thus further suggesting that the exception excludes requests from

   executive agencies. 44 U.S.C. § 2205(2)(B).

         Not only would this interpretation of the PRA authorize indirect criminal

   investigations through the White House out of accord with the plain meaning of the

   statute, but it would also dangerously expand the ability of an incumbent President

   to harass a former President by seizing documents based on the request of any agency

   for nearly any reason. Indeed, if the justification here is accepted — “so that the FBI

   and others in the Intelligence Community could examine [the documents]” — it is

   hard to imagine what sort of reason would not allow an incumbent President to

   request documents under the justification that they are “needed for the conduct of

   current business of the incumbent President’s office.”

         Therefore, DOJ is precluded from using this exception to justify obtaining

   these documents, and it must rely solely on the exception granted for documents

   “pursuant to subpoena or other judicial process issued by a court of competent

   jurisdiction for the purposes of any civil or criminal investigation or proceeding.” 44

   U.S.C. § 2205(2)(A). Accordingly, the Court should follow the plain meaning of section

   2205(2) and find that DOJ can only obtain documents through section 2205(2)(A).

         B.     Historical practice indicates that NARA lacks the authority to
                make criminal referrals to DOJ.

         As stated in President Trump’s motion to dismiss, a NARA official confirmed

   that, before this case, NARA had “never made a referral to DOJ” in the context of the

   Presidential Records Act. ECF No. 327 at 10 (internal quotation marks omitted).

   Previous courts have not recognized that NARA has the authority to make DOJ


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   referrals under the PRA. While the Federal Records Act, by its text, expressly

   authorizes “the Attorney General to institute an action for the recovery of missing

   records,” Judicial Watch, Inc. v. NARA, 845 F. Supp. 2d 288, 302 (D.D.C. 2012), no

   parallel provision exists in the text of the PRA. Compare 44 U.S.C. § 2212(c) (“[the

   Archivist] may exercise … all functions and responsibilities otherwise vested in him

   pertaining to Federal records”), with 44 U.S.C. § 3106(b) (“the Archivist shall request

   the Attorney General to initiate [an action for the recovery of records]”). NARA

   historically sought recovery of Presidential records by requesting DOJ to pursue a

   civil “replevin action rather than criminal investigations, grand jury subpoenas, and

   search warrants.” ECF. No. 237 at 12 (citing United States v. Navarro, 644 F. Supp.

   3d 48 (D.D.C. 2023); United States v. Zook, No. 12 Civ. 1465 (D. Md. May 15, 2012);

   United States v. McElvenny, 2003 WL 17414422 (S.D.N.Y. Apr. 1, 2003)).2

         Further, as noted in President Trump’s motion to dismiss, the Supreme Court

   has continuously struck down uses of executive power with weak foundations in the

   text and that have little historical precedent. ECF No. 327 at 10 (citing NFIB v.

   OSHA, 595 U.S. 109, 119 (2022); Seila Law LLC v. CFPB, 140 S. Ct. 2183, 2201

   (2020)); see also Biden v. Nebraska, 143 S. Ct. 2355, 2372 (2023) (“The Secretary has

   never previously claimed powers of this magnitude”); Alabama Ass’n of Realtors v.

   Dep’t of Health & Hum. Servs., 141 S. Ct. 2485, 2489 (2021) (“The claim of expansive




   2 Even so, NARA may not do the same to recover alleged Presidential records from

   the former President because the President’s designation of his papers is fully within
   his discretion and unreviewable. See Part I.C., infra.
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   authority … is unprecedented”). To read NARA’s power to “request … to institute an

   action for the recovery of missing records” as allowing it to make DOJ referrals indeed

   stretches the text, and adding the lack of any historical precedent for such action puts

   NARA’s strained reading squarely in the type of administrative action which the

   Supreme Court has time and again rejected.

          Finally, one cannot ignore the context of this case: NARA has used its

   heretofore unused DOJ referral power to criminally pursue a former President—and

   current presidential candidate—during an election season. Indeed, the exercise of

   NARA’s textually ambiguous (at best) power in the extraordinary prosecution of a

   former President implicates issues of “vast economic and political significance,” and

   so the Court should “expect Congress to speak clearly” to conclude the agency has

   such power. Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014) (quoting Food &

   Drug Admin. v. Brown & Williamson Tobacco Corp., 529 U.S. 120 (2000)); see also

   West Virginia v. EPA, 597 U.S. 697, 716 (2022). Since Congress has not done so, and

   for the other reasons noted, the Court should reject NARA’s power grab to make DOJ

   referrals.

          C.    NARA lacks the authority to challenge Presidential record
                determinations by the President.

          The PRA gives no role to NARA in the designation of materials as

   “Presidential” or “personal” either during a President’s term or after; this duty of

   designation is given exclusively to the President during his term of office. 44 U.S.C.

   § 2203(a) (“[T]he President shall take all such steps as may be necessary to assure

   that the activities … that reflect the performance of the President’s constitutional,


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   statutory, or other official or ceremonial duties are adequately documented”); 44

   U.S.C. § 2203(b) (“Documentary materials produced or received by the President …

   shall, to the extent practicable, be categorized as Presidential records or personal

   records upon their creation or receipt and be filed separately”); see also Judicial

   Watch, Inc., 845 F. Supp. 2d at 300–01. Nothing in the statute gives NARA the power

   to challenge the designations made by the President or to change them after he has

   left office.

          As noted in President Trump’s motion to dismiss, the documents in this case

   were transported to Mar-A-Lago before the end of his term, thus reflecting his

   determination that these documents were “personal” and not “Presidential.” ECF No.

   327 at 4. In accordance with the statutory text, NARA did not play a role in making

   these designations. 44 U.S.C. § 2203(b). Indeed, when the documents were deemed

   “personal,” NARA lacked the authority to challenge this determination through its

   own statutory power. Even after President Trump left office, NARA lacks the

   statutory authority to redesignate these documents and so cannot challenge

   President Trump’s designations.

          Because NARA cannot contend that it has the power to redesignate the

   documents, it may simply argue that it can challenge the initial designation through

   the judicial process. However, courts have refused to second-guess how a President

   carries out his duties under the PRA while in office. Armstrong v. Bush, 924 F.2d 282,

   290 (D.C. Cir. 1991); CREW v. Trump, 924 F.3d 602, 609 (D.C. Cir. 2019) (“courts

   have no jurisdiction to review the President’s day-to-day operations”) (internal



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   quotation marks omitted). In sum, the indictment as a whole asks the Court to do

   precisely what it is precluded from doing: to review the “day-to-day operations” of the

   White House concerning Presidential records, including “the adequacy of the

   President’s records management practices or ... his records creation, management,

   and disposal decisions.” Citizens for Resp. & Ethics in Washington v. Trump, 438 F.

   Supp. 3d 54, 66 (D.D.C. 2020). Therefore, when President Trump initially determined

   that the documents were “personal,” NARA lacked any authority to challenge this

   designation through its statutory power or judicial review.

          NARA is also precluded from challenging a President’s “personal” designation

   in the courts after the President has left office. Even after the President has left office,

   courts have been reluctant to judicially review his designation of certain documents

   as “personal.” See Judicial Watch, 845 F. Supp. 2d at 297–98 (refusing to second guess

   a “personal records” designation to foreign policy audio tapes because of the practical

   difficulties and lack of statutory guidance) (“Armstrong II did not announce that there

   was any limit to the President’s discretion to segregate materials as personal … the

   Court has serious doubts about whether the former President’s retention of the

   audiotapes as personal is a matter that is subject to judicial review”); cf. American

   Historical Ass’n v. Peterson, 876 F. Supp. 1300, 1314 (D.D.C. 1995) (finding that a

   former President’s guidelines and agreements for disposing is reviewable).

          The reasons are clear: the PRA gives courts no guidance for handling cases of

   individual disposal decisions and does not mention challenges to designation at all.

   See Judicial Watch, 845 F. Supp. 2d at 298 (“If [judicial review] is available, why is



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   the PRA entirely silent on the subject? What standard of review would apply? Would

   there not be a high level of deference … How could a challenge to a President’s

   classification decision be litigated without the decision-maker participating as a party

   to the lawsuit … what is the statute of limitation that applies?”).

         Furthermore, judicial review of a President’s in-office determinations, even

   after the President has left office, implicates concerns about separation of powers and

   an executive restrained in his duty by the threat of future criminal investigations.

   Since the founding of the United States, Presidents leaving office have taken custody

   of their papers, and the PRA can be read to apply only to presidential papers that the

   President voluntarily relinquishes.3 For these reasons, the Court should find that

   NARA lacks the authority to challenge Presidential record determinations made by

   the former President.

         D.     The White House impermissibly tainted NARA’s decision-
                making.

         When political pressure is applied to an ultimate agency decisionmaker to

   shape an agency action, that agency action is invalid. Aera Energy LLC v. Salazar,

   642 F.3d 212, 221 (D.C. Cir. 2011) (“political pressure invalidates agency action only

   when it shapes, in whole or in part, the judgment of the ultimate agency

   decisionmaker”). The standard for this test has been “whether extraneous pressure

   intruded into the [agency decisionmaker’s] calculus of consideration.” Id. (quoting




   3 See AM. FIRST LEGAL FOUND., THE PRESIDENTIAL RECORDS ACT CANNOT SUPERSEDE

   A FORMER PRESIDENT’S AUTHORITY OVER PRESIDENTIAL PAPERS               (Oct. 10, 2023),
   https://bit.ly/3SWfBkK.
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   D.C. Federation of Civic Ass’ns v. Volpe, 459 F.2d 1231, 1246 (D.C.Cir.1971) (internal

   quotation marks omitted). Courts have found that just the appearance of political

   pressure influencing a decision is enough to invalidate an agency’s action. Even a

   simple letter from a congressman is enough to render an agency action invalid

   because of the “[compromised] appearance of … impartiality.” Koniag, Inc., Village of

   Uyak v. Andrus, 580 F.2d 601, 610 (D.C. Cir. 1978).

         Here, it is undisputed that the Biden White House initially requested the

   documents from NARA.4 Regardless of the claim that this request was at the behest

   of DOJ, a request from the Biden White House Counsel’s Office which eventually

   leads to an FBI raid of a political opponent’s home eviscerates any “appearance of …

   impartiality” in NARA’s decision-making. This compromised decision-making is

   compounded when one notes that NARA had complete discretion over its ability to

   ask DOJ to recover such documents under 44 U.S.C. § 3106(b). Still, NARA only made

   its DOJ referral because of the Biden White House’s request. Id.; 44 U.S.C. § 2212(c)

   (“[the Archivist] may exercise [its ability to make requests to DOJ]”) (emphasis

   added).

         In other words, NARA had not decided to request DOJ to recover the

   documents from President Biden’s principal political opponent until the Biden White

   House requested for it to do so. If a simple letter from a congressman is enough to




   4 E-mail from Debra Steidel Wall, Acting Archivist of the United States, to All
   Employees (Aug. 24, 2022, 3:34 PM) (Bates 15B001043–44), https://bit.ly/3mjVHDR
   (“the White House Counsel’s Office … formally transmitted a request to NARA”).
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   render an agency action void because of the appearance of improper political

   influence, certainly a request from the White House to investigate a political

   opponent—which NARA admits led to its action—reflects impermissible political

   pressure on NARA’s decisionmaking. Therefore, the Court should find NARA’s

   request to DOJ invalid.

   II.   NARA is bound to defer to the former President’s rights and privileges
         yet ignored them.

         A.       Notwithstanding the ultra vires nature of the NARA referral,
                  NARA also failed to defer to the President’s right to assert a
                  privilege or defense.

         The relevant section of the Presidential Records Act, 44 U.S.C. § 2205(2)(A),

   states that the Archivist can provide records to the Department of Justice “pursuant

   to subpoena or other judicial process issued by a court of competent jurisdiction for

   the purposes of any civil or criminal investigation or proceeding.” As stated in Part I,

   supra, NARA lacks statutory authority to make a referral to DOJ absent a subpoena

   or other court process. Additionally, 44 U.S.C. § 2205 states that Presidential records

   provided by subpoena (or an ultra vires referral) are “subject to any rights, defenses

   or privileges which … any … person may invoke.” The Supreme Court has held that

   presidential      privileges    extend      beyond       a     President’s      tenure.

   Nixon v. Adm’r of Gen. Servs., 433 U.S. 425, 448–49 (1977) (“[t]he confidentiality

   necessary to this exchange cannot be measured by the few months or years between

   the submission of the information and the end of the President’s tenure; the privilege

   is not for the benefit of the President as an individual, but for the benefit of the

   Republic. Therefore, the privilege survives the individual President’s tenure.”).


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         As such, the unambiguous meaning of the Presidential Records Act is that the

   provisions governing public access are immaterial to questions regarding access

   pursuant to a lawful criminal process. Problematically, NARA’s fiat-based

   determination that it has inherent referral authority is based on its specious

   application of its own interpretations of its power under the public access provisions

   of the PRA to the enumerated provisions of section 2205. Two crucial sources of law

   relied upon by NARA — the procedural rules adopted by the Archivist at 36 C.F.R. §

   1270.44 governing exceptions to restricted access and Executive Order 134895 — are

   plainly invalid as applied to any referral power. This is because, without any textual

   basis in 44 U.S.C. § 2205, the Archivist has applied procedures Congress established

   in 44 U.S.C. § 2208 concerning public access under the Freedom of Information Act

   (FOIA) to criminal procedures.6 Why would Congress establish procedures governing

   public access to Presidential records but exempt those procedures from applying to

   access for the purposes of criminal inquiries if its real intent was to have those

   procedures apply?

         The plain reading of section 2205(2)(A) not only limits NARA’s powers but 44

   U.S.C. § 2205 specifically states that Presidential records provided by subpoena (or

   obtained via an ultra vires referral) are “subject to any rights, defenses or privileges

   which … any … person may invoke.” Thus, a former President’s constitutional




   5 Exec. Order No. 13489, 70 Fed. Reg. 4669 (Jan. 26, 2009).
   6 Compare the consistency between 44 U.S.C. § 2208 and 36 C.F.R. § 1270.48, with

   the lack of consistency between 44 U.S.C. § 2205 and 36 C.F.R. § 1270.44.
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   privilege assertions or defenses (i.e., that the records are personal, not official)

   constrain NARA.

         B.     NARA lacks discretion to override a former President’s
                determination concerning his rights, defenses, and privileges.

         Courts are bound by the rights, privileges, and defenses asserted by a former

   President. The limited holding of the Supreme Court in Trump v. Thompson, 142 S.

   Ct. 680 (2022), was restricted to congressional access to a former President’s records.

   This Court is not constrained by Trump v. Thompson when evaluating a former

   President’s claims of control over records he created or received.7 What has led to

   confusion over the PRA on questions of an incumbent President’s authority to deny

   privileges or defenses of a former President is NARA’s failure to admit that the

   procedures announced in 44 U.S.C. §§ 2204 and 2208 do not govern disputes arising

   from criminal inquiries delineated in 44 U.S.C. § 2205. 44 U.S.C. § 2204 specifically

   cites FOIA and the Privacy Act, and 44 U.S.C. § 2208 applies “[w]hen

   the Archivist determines … to make available to the public any Presidential record

   that has not previously been made available to the public.” (Emphasis added).



   7On December 9, 2021, the D.C. Circuit affirmed the district court’s ruling that NARA
   could produce former President Donald Trump’s Presidential records to the House
   Select Committee to Investigate the January 6th Attack on the United States Capitol
   (Select Committee). Trump v. Thompson, 20 F.4th 10, 15 (D.C. Cir. 2021). On
   December 23, 2021, Trump asked the Supreme Court to intervene to prevent the
   Select Committee from accessing his White House records (filing both a petition for
   certiorari as well as an application for the Supreme Court to stay the D.C. Circuit’s
   mandate pending its disposition on the cert. petition). See Petition for Writ of
   Certiorari, Trump v. Thompson, 142 S. Ct. 680 (No. 21-5254); Appl. for a Stay of
   Mandate and Inj. Pending Review, Trump v. Thompson, 142 S. Ct. 680 (No. 21-5254).
   On January 19, 2022, the Supreme Court denied President Trump’s request for a
   stay. Trump v. Thompson, 142 S. Ct. 680 (2022) .
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   Sections 2204 and 2208 govern public requests for Presidential records, viz., those

   filed under FOIA, not criminal investigations contemplated under section

   2205(2)(A). 44 U.S.C. § 2205 clearly states that it is to be interpreted

   “[n]otwithstanding     any    restrictions        on   access   imposed   pursuant   to

   sections 2204 and 2208 of this title.”

   III.   Because NARA is an Independent Establishment, it must be insulated
          from political influence, yet the Biden White House directly
          politicized how NARA treats the records of former President Trump.

          The political pressure from the incumbent President unlawfully tainted the

   Archivist’s decision concerning the legal effect of the former President’s assertions of

   his rights, privileges, and defenses. No law mandates that the Archivist defer to the

   incumbent President concerning the validity of a privilege assertion by a former

   President in the context of a criminal request where no compulsory process

   (subpoena) has been issued. Because the Archivist permitted the incumbent

   President to direct him in making decisions regarding rights asserted by the former

   President, the Archivist’s decision-making was impermissibly tainted, requiring

   judicial invalidation of the Archivist’s referral decision, which cannot be cured

   through remand to NARA.

          In White House Counsel Dana Remus’s letters to the Archivist, she states,

   “President Biden instructs you, in accord with Section 4(b) of Executive Order 13489,

   to provide to the Select Committee the pages identified as privileged by the former




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   President.”8 While these communications occurred prior to the Special Counsel

   investigation, they reflect apparent White House influence over the Archivist in a

   manner that relates to the authorities established in 44 U.S.C. § 2205 (which excepts

   the President’s unilateral control over his records in, inter alia, cases of congressional

   oversight and law enforcement investigations).

         The 2014 amendments to the PRA9 invalidated Executive Order 13489’s

   procedures, which applied to all requests for access to Presidential records, by

   establishing procedures concerning public requests for access distinct from requests

   originating from Congress. Notwithstanding questions regarding its continuing

   validity, Executive Order 13489 contains a safety valve to prevent the White House

   from directing how the Archivist reviews a presidential claim of privilege; White

   House determinations “shall not prejudice the Archivist’s determination with respect

   to the former President’s claim of privilege.” Id. § 4. This safety valve exists because

   Congress established NARA as an “independent establishment” under 44 U.S.C. §

   2102, while vesting in the incumbent President the ability to control the Archivist’s

   judgment regarding the releasability of a former President’s records would raise

   constitutional problems. See Freytag v. Commissioner, 501 U.S. 868, 921 (1991)




   8 See Second Letter from Dana A. Remus, Counsel to the President, to David Ferriero,

   Archivist of the United States (Oct. 8, 2021), https://bit.ly/3IfjbBs; Letter from Dana
   A. Remus, Counsel to the President, to David Ferriero, Archivist of the United States
   (Oct. 25, 2021), https://bit.ly/3OWGOTi; see also Letters from Dana A. Remus,
   Counsel to the President, to David Ferriero, Archivist of the United States (Oct. 8,
   2021), https://bit.ly/49yJxua.
   9 Presidential and Federal Records Act Amendments of 2014, Pub. L. No. 113-187,

   128 Stat. 2003 (2014).
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   (Scalia, J., concurring) (explaining, albeit begrudgingly, that Congress created

   “independent establishments” to insulate certain entities from presidential control).

   Suppose Congress cannot assign ministerial duties to agency heads insulated from

   presidential control. In that case, statutes like the APA, the Ethics in Government

   Act, or the Civil Service Reform Act are legal nullities to the extent they are

   interpreted to disallow complete presidential discretion and control over, e.g.,

   rulemaking, permitting, ethics compliance, or the firing of civil service employees.

   NARA must be free from White House influence over its decisions.

         The more constitutionally sound view is that the records of a former President

   are presumptively privileged and subject to his unilateral control, Armstrong v. Bush,

   924 F.2d 282 (D.C. Cir. 1991), and only in the context of public requests for access

   once a former President’s restrictions have expired does a sitting President have any

   say in the matter of control. See 44 U.S.C. § 2203(g) (“Upon the conclusion of a

   President’s term of office … the Archivist of the United States shall assume

   responsibility for the custody, control, and preservation of, and access to, the

   Presidential records of that President”); 44 U.S.C. § 2204(c)(1) (“Presidential records

   shall be administered in accordance with section 552 of title 5, United States Code …

   and for the purposes of such section such records shall be deemed to be records of the

   National Archives and Records Administration”). Because a former President’s

   confidentiality interests have largely dissipated over the statutory 12-year restricted

   access period established in section 2204 of the Presidential Records Act, the

   incumbent President is in the best position at that time to determine whether records



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   should be subject to automatic release or remain privileged. E.g., Armstrong v. Exec.

   Office of the President, Office of Admin., 303 U.S. App. D.C. 107 (D.C. Cir. 1993).

         Finally, that the Archivist must respond to a valid law enforcement request for

   archived records independent of the incumbent President is an additional reason why

   the former President’s assertion of a right, defense, or privilege (including the right,

   defense, or privilege that records are “personal”) should be determinative. It is well-

   established that the decisions of independent establishments are improperly tainted

   when shaped by outside political interests. Jennifer L. Selin, What Makes an Agency

   Independent? 59 AM. J. POL. SCI. 971–87 (2015) (collecting scholarly and legal

   authorities). White House Counsel Dana Remus wrote letters to the Archivist,

   directing the Archivist to ignore former President Trump’s privilege assertions. This

   impermissibly influenced the head of an independent establishment. Aera Energy

   LLC v. Salazar, 642 F.3d 212, 221 (D.C. Cir. 2011); see also Connecticut v. U.S. Dep’t

   of the Interior, 363 F. Supp. 3d 45, 63 (D.D.C. 2019) (“Both formulations suggest that

   an agency’s decision may be arbitrary and capricious if political pressure influenced

   the decision in a manner not dictated by the relevant statutes and regulations.”). That

   NARA allowed itself to be biased by the White House in terms of claims of privilege

   risks that NARA’s subsequent decision to refer the former President to the

   Department of Justice was impermissibly tainted. See, e.g., Limnia, Inc. v. United

   States Dep’t of Energy, 857 F.3d 379, 388 (D.C. Cir. 2017) (Kavanaugh, J.).

         But here, political remedies were readily available to prevent tainting the

   Archivist’s decision-making, most obviously the ability for the Special Counsel to



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   submit its law enforcement request directly to President Biden and command him,

   under subpoena, to release the relevant former President’s records. If such direct

   requests were prohibited, certainly indirect oversight of a former President’s records

   through a referral by the Archivist would also be prohibited. It is obvious that if

   President Biden were to have been shielded from disclosing all of former President

   Trump’s records to the Special Counsel, the Special Counsel would have an entirely

   different reading of what the Presidential Records Act requires.

   IV.   If a court finds that the APA was violated, then that is a basis for
         dismissing the indictment.

         Many courts have held that an agency’s violations of the Administrative

   Procedure Act are grounds for dismissing a criminal indictment. See United States v.

   Picciotto, 875 F.2d 345, 346 (D.C. Cir. 1989); see also United States v. Ross, 848 F.3d

   1129, 1131 (D.C. Cir. 2017); United States v. Johnson, 632 F.3d 912, 930 (5th Cir.

   2011); United States v. Cain, 583 F.3d 408, 422 (6th Cir. 2009).

         In Picciotto, the criminal indictment resulted from a regulatory interpretation

   for which it “did not publish a general notice of proposed rulemaking in the Federal

   Register and neither appellant nor the general public was given an opportunity to

   comment.” Picciotto, 875 F.2d at 346. Unsurprisingly, the D.C. Circuit held that a

   decision made in violation of the APA’s procedural requirements “is invalid.” Id.

         Here, NARA never engaged in appropriate informal rulemaking to lawfully

   adopt its interpretation of 44 U.S.C. § 2205(2)(A)—or any other statutory provision—

   as authorizing a criminal referral to the Department of Justice in this or any other

   case. The Park Service in Picciotto acted exactly as NARA did here — “grant[ing]

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   itself a valid exemption to the APA” “free of APA’s troublesome rulemaking

   procedures” “simply by announcing its independence in a general rule.” Id. at 347.

   Just like the “Park Service cannot construct its own veto of Congressional directions,”

   id., neither can NARA. The ultimate issue in Picciotto, was “whether a conviction

   based on a violation of [a decision adopted] without notice and comment, can stand.”

   Id. The answer is “no.”

         Likewise, the U.S. Court of Appeals for the Sixth Circuit held in Cain that an

   agency decision “on pain of severe criminal sanctions” must comply with the strict

   letter of the APA. Similarly, the Fifth Circuit in United States v. Johnson, supra,

   involved a criminal prosecution based upon an agency decision that did not comport

   with the APA’s requirements. While the court in Johnson affirmed the criminal

   conviction, it only did so in finding that the “outcome of the process” would not “have

   differed” had administrative procedures been complied with. United States v.

   Johnson, 632 F.3d 912, 933 (5th Cir. 2011).

         Here, compliance with the Administrative Procedure Act would have changed

   the outcome in at least two ways: first, by requiring a validly issued subpoena subject

   to constitutional requirements, and second, by requiring that any referral be subject

   to valid rights and defenses of the former President. At a minimum, NARA’s referral

   rule would be subject to notice and comment procedures that would have forced

   NARA to address these two arguments and explain itself so that the Defendant would

   have had fair notice of the conduct that NARA considered grounds for criminal

   referral. F.C.C. v. Fox Television Stations, Inc., 567 U.S. 239, 253 (2012). “A statute



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   which either forbids or requires the doing of an act in terms so vague that men of

   common intelligence must necessarily guess at its meaning and differ as to its

   application violates the first essential of due process of law.” Connally v. General

   Constr. Co., 269 U.S. 385, 391 (1926); Papachristou v. Jacksonville, 405 U.S. 156, 162

   (1972). Living under the rule of law entails various suppositions, one of which is that

   all persons are entitled to be informed as to what the State commands or forbids. This

   requirement of clarity in regulation is essential to the protections provided by the

   Due Process Clause of the Fifth Amendment. Fox, 567 U.S. at 253 (citing United

   States v. Williams, 553 U.S. 285, 304 (2008)). NARA’s failure to provide advance

   warning of its claimed referral authority or to outline the parameters of the conduct

   that would trigger this authority means that the indictment should be dismissed.

                                      CONCLUSION

         Accordingly, America First Legal respectfully requests that the Court grant

   President Trump’s Motion to Dismiss the Indictment Based on the Presidential

   Records Act.

   Dated: March 1, 2024                    Respectfully submitted,

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